                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION



    GREGORY SLATE

                          Plaintiff

                     v.
    DIOP KAMAU, et al.,                                        Case No.: 4:21-cv-390-MW/MJF
                                                               Chief Judge Mark E. Walker
                         Defendant



PLAINTIFF’S MOTION FOR LEAVE1 TO EXCEED WORD COUNT FOR
 MEMORANDUM IN OPPOSITION TO DEFENDANT DIOP KAMAU’S
             MOTION FOR SUMMARY JUDGMENT

        Pursuant to N.D. Fla. Local Rule 7.1(F), Plaintiff Gregory Slate (“Mr. Slate”),

by and through undersigned counsel, hereby respectfully moves this Honorable

Court for leave to exceed the word count for his memorandum in opposition to

Defendant Diop Kamau’s Motion for Summary Judgment. In support thereof, Mr.

Slate respectfully states as follows:

                                                BACKGROUND

        1.       On June 2, 2023, Defendant filed a 35-page, 7,606-word Motion for

Summary Judgment against Mr. Slate. (Doc. 114.)


1
 To the extent that the filing of Mr. Slate’s Opposition to Defendant Kamau’s Motion for Summary Judgment
would be deemed out of time despite the CM/ECF system going down after Mr. Slate filed his notice of exhibits in
opposition to Defendant Kamau’s Motion for Summary Judgment (ECF 127), Mr. Slate also seeks leave to file his
opposition out of time.
         2.    Therein, Defendant set forth numerous statements of facts, omitting

most of the defamatory statements and infringing uses at issue in this matter but

seeking summary judgment on many of the omitted statements and allegedly

infringing uses based on truth and fair use, inter alia. Id.

         3.    Based on the facts of this case, many of which are not stated in

Defendant’s motion, Mr. Slate believes several of the legal standards Defendant

submits the Court adopts are inapplicable.

         4.    To properly respond to the Motion for Summary Judgment, Mr. Slate

must respond with the additional facts that are determinative of the appropriate legal

standards and law, state the appropriate standards, and address the law submitted by

Defendant to explain why his legal positions cannot be properly applied under these

facts.

                             MEMORANDUM OF LAW

         As grounds further grounds for this Motion, Mr. Slate state as follows:

         1.    N.D. Fla. Loe. R. 7.1(F) mandates that, unless given leave of court, Mr.

Slate's Memorandum in Opposition to Plaintiff’s Motion for Summary Judgment

cannot exceed 8,000 words.

         2.    Due to the sheer number of omitted factual allegations that Mr. Slate

must address in the Memorandum in Opposition along with the legal arguments that




                                          2/5
must be briefed, Mr. Slate cannot prepare a Memorandum in Opposition to Diop

Kamau's

      3.    Undersigned counsel has attempted to confer via email with counsel for

Defendant on the relief requested in this Motion but has not yet received a response

from Defendant's counsel.

      4.    On April 27, 2023, the day before discovery closed, Defendant Kamau

served “amended” responses to Mr. Slate’s first, second, and third RFAs, and a

response to the fourth RFAs.

                                 CONCLUSION
      For the foregoing reasons, Mr. Slate respectfully requests that the Court grant

this motion and grant Mr. Slate leave of court to file a Memorandum in Opposition

to Defendant Diop Kamau's Motion for Summary Judgment that exceeds 8,000

words.

June 25, 2023                            Respectfully Submitted,

                                            Janakan Thiagarajah
                                         By:
                                         /s/______________________________
                                         Janakan Thiagarajah
                                         Bellwether Law, PLLC
                                         4315 50th ST NW Ste 100, #7017
                                         Washington DC 20016
                                         Tel: (202) 596-8434
                                         janakan@bellwetherlaw.com
                                         Counsel for Plaintiff Gregory A. Slate




                                        3/5
       CERTIFICATE OF COMPLIANCE WITH LOCAL Rule 7.1(B)
       The undersigned certifies that good faith to resolve the issue through a
meaningful conference with an attorney for the adverse party and Defendant has yet
to respond to the undersigned counsel email.

                                               Janakan Thiagarajah
                                       By: /s/______________________________

      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
       The undersigned certifies that the foregoing complies with the size, font, and
formatting requirements of Local Rule 5.1(C) and that the foregoing complies with
the word limit in Local Rule 7.1(F); the foregoing contains 720 words, excluding the
case style, signature block, and certificates.

                                               Janakan Thiagarajah
                                       By: /s/______________________________




                                        4/5
                         CERTIFICATE OF SERVICE
I hereby certify that on this 25th day of June 2023, a copy of the foregoing M OTION
TO EXCEED WORD COUNT was served by email and the court’s electronic filing
system to the following counsel of record:


      Carlo D. Marichal, Esq.
      Banker Lopez Gassler P.A.
      Fort Lauderdale Office Managing Shareholder
      1200 S. Pine Island Road, Suite 170
      Plantation, FL 33324
      cmarichal@bankerlopez.com
      Counsel for Diop Kamau

      Telitha Entertainment Corp.’s contact
      information as filed with this court by their prior counsel:
      Email: Sgtdcj@icloud.com
      Mailing address: 3425 Bannerman Rd., #164
      Tallahassee, FL 32312
      Telephone: (805) 566-7960



                                           By:
                                                 Janakan Thiagarajah
                                           /s/______________________________
                                           Janakan Thiagarajah
                                           (FL Bar No. 1040171)




                                        5/5
